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               United States Court of Appeals
                    for the Fifth Circuit                          United States Court of Appeals
                                                                            Fifth Circuit

                                                                          FILED
                                                                      June 16, 2022
                                   No. 21-60474
                                                                     Lyle W. Cayce
                                 Summary Calendar                         Clerk


    United States of America,

                                                              Plaintiff—Appellee,

                                        versus

    Derwin Renwick McWaine,

                                                          Defendant—Appellant.


                   Appeal from the United States District Court
                     for the Northern District of Mississippi
                             USDC No. 4:98-CR-22-1


    Before Barksdale, Costa, and Engelhardt, Circuit Judges.
    Per Curiam:*
           Proceeding pro se, Derwin Renwick McWaine, federal prisoner
    # 10797-042, appeals the district court’s denial of reconsideration of its
    denial of his motion to reduce his sentence pursuant to the First Step Act of
    2018, Pub. L. No. 115-391, § 404, 132 Stat. 5194.


           *
             Pursuant to 5th Circuit Rule 47.5, the court has determined that this
    opinion should not be published and is not precedent except under the limited
    circumstances set forth in 5th Circuit Rule 47.5.4.
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           McWaine was convicted of violating federal drug-trafficking,
    firearms, and money-laundering statutes. Our court affirmed McWaine’s
    convictions but vacated his sentence and remanded the case to district court
    for resentencing in the light of Apprendi v. New Jersey, 530 U.S. 466 (2000),
    specifically his sentence of life imprisonment for conspiracy to distribute
    crack cocaine under 21 U.S.C. § 841(b)(1)(A): our court held that, as a result,
    the sentence could not be based on 21 U.S.C. § 841(b)(1)(A), but instead on
    21 U.S.C. § 841(b)(1)(C) (20-year statutory maximum). United States v.
    McWaine, 243 F.3d 871, 875–76 (5th Cir. 2001).
           On remand, he was resentenced to, inter alia, a total of 50 years’
    imprisonment, which included a 20-year sentence for conspiracy to
    distribute crack cocaine. Our court affirmed his sentence, except for a
    modification to his supervised-release term. United States v. McWaine, 290
    F.3d 269, 277 (5th Cir. 2002).
           McWaine asserts: on remand, the district court should have retried
    him on the drug conspiracy charge or sentenced him to a total of 20 years in
    prison; and, because it did not, his sentence was calculated based upon the
    above-referenced 21 U.S.C. § 841(b)(1)(A)—a “covered offense” under the
    First Step Act.
           The denial of a motion for reconsideration is generally reviewed for
    abuse of discretion. United States v. Rabhan, 540 F.3d 344, 346 (5th Cir.
    2008). As discussed, McWaine was sentenced on remand for his drug-
    conspiracy offense to the 20-year maximum under 21 U.S.C. § 841(b)(1)(C).
    And, the Fair Sentencing Act of 2010, Pub. L. No. 111-220, sec. 2(a), 124
    Stat. 2372, made retroactive by the First Step Act, “did not modify the
    statutory penalties for” offenses under § 841(b)(1)(C). Terry v. United States,
    141 S. Ct. 1858, 1861–63 (2021). Consequently, McWaine’s drug-conspiracy
    offense is not a “covered offense” under the First Step Act, and he was




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    ineligible for a sentencing reduction.      See id. at 1862–64 (explaining
    § 841(b)(1)(C) not “covered offense” and, therefore, does not warrant
    sentence reduction under First Step Act).
          AFFIRMED.




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